
The appellee, being dead, Warden moved, to enter his appearance for the executors, without waiting for a sci. fa. which he said was only necessary to force an appearance. The court granted the motion, and tried the cause, at the instance of the counsel for the appellee, altho’ it was objected by Mercer, J. that a trial at this term would be a surprise upon the appellant, who might consider the appeal as abated until regularly revived. But it was said by the court, that tne appellant ought to follow the cause.†

tin the case of Wood v. Webb, determined after-wards in October 1795, the court, upon a similar motion, refused to revive the appeal upon an appearance being entered, and directed a writ of sci. fa. to issue, saying, that the above case had not been duly considered, at the time the motion was granted. — Note in Original Edition.

